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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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JAMES MULLEN and KARL SCHMIDT                            NOTICE OF M OTION TO
                                                         AM END AM ENDED
                    Plaintiff,                           COM PLAINT

      -against-                                          Civil Action No. 5:10-CV-1422
                                                         DNH/DEP
THE CITY OF SYRACUSE, STEPHANIE
A. MINER, in her individual and official capacity
as Mayor of The City of Syracuse; FRANK L.
FOWLER, in his individual and official capacity as
Chief of Police for The City of Syracuse; JUDY
CULETON, in her individual and official capacity
as Director of the Human Resources Division of the
Syracuse Police Department; JOHN and JOHN DOE(S)
MATTHEW DRISCOLL, in his individual capacity
as former Mayor of The City of Syracuse; GARY
MIGUEL, in his individual capacity as former Chief
of Police for The City of Syracuse,

                  Defendants.
__________________________________________

M OTION BY:                       The Plaintiffs, James Mullen and Karl Schmidt

SUPPORTING PAPERS:                The Attorney Affirmation of A.J. Bosman, Esq. dated August
                                  1, 2011, the proposed Second Amended Complaint attached
                                  thereto, and all prior pleadings and proceedings heretofore had
                                  herein.

RETURN DATE, TIM E
AND PLACE:                        At the United States District Court, Northern District of New
                                  York, United States Courthouse, 100 S. Clinton Street,
                                  Syracuse, New York before the Honorable David E. Peebles,
                                  United States Magistrate Judge, on the 1st day of September,
                                  2011, at 10:00 o’clock in the forenoon of that day, or as soon
                                  thereafter as the parties may be heard.

RELIEF SOUGHT:                    An order pursuant to Rule 15(a)(2) of the Federal Rules of
                                  Civil Procedure granting Plaintiffs leave to file a Second
                                  Amended Complaint and granting such other and further relief
                                  the Court deems just and proper.

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ANSWERING PAPERS:                    Pursuant to Local Rule 7.1(b)(2) of the Northern District of
                                     New York, responsive papers must be filed with the Court and
                                     served upon Plaintiffs’ attorney not less than SEVENTEEN
                                     DAYS prior to the return date of the motion.

Dated: August 1, 2011
at Rome, New York


                                                     s/A.J. Bosman
                                                     A.J. Bosman, Esq.
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